USCA4 Appeal: 21-1756      Doc: 55         Filed: 07/11/2022    Pg: 1 of 26




                                           No. 21–1756

                                                 In the

        United States Court of Appeals
                              For the Fourth Circuit
                                          __________________

                                Damian Stinnie, et al., Appellants,
                                               v.
                                  Richard Holcomb, Appellee.
                                          __________________
                       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                  (The Honorable Norman K. Moon)
                                          __________________

                             PETITION FOR REHEARING EN BANC
                                     __________________
        Jonathan T. Blank                  Angela A. Ciolfi            Leslie Kendrick
        Benjamin P. Abel                   LEGAL AID JUSTICE CENTER    580 Massie Road
        MCGUIREWOODS LLP                   1000 Preston Avenue         Charlottesville, VA 22903
        323 Second Street SE, Suite 700    Suite A                     T: (434) 243-8633
        Charlottesville, VA 22902          Charlottesville, VA 22903   F: (434) 924-7536
        T: (434) 977-2509                  T: (434) 529-1810           kendrick@virginia.edu
        F: (434) 980-2258                  F: (434) 977-0558
        jblank@mcguirewoods.com            angela@justice4all.org      Tennille J. Checkovich
        babel@mcguirewoods.com                                         Michael Stark
                                           Patrick Levy-Lavelle        200 Commerce Street
        John J. Woolard                    LEGAL AID JUSTICE CENTER    Smithfield, VA 23430
        MCGUIREWOODS LLP                   626 East Broad Street       T: (757) 357-8151
        800 East Canal Street              Suite 200                   F: (757) 365-3018
        Richmond, VA 23219                 Richmond, VA 23219          tcheckovich@smithfield.com
        T: (804) 775-4355                  T: (804) 643-1086           mstark@smithfield.com
        F: (804) 698-2055                  F: (804) 643-2059
        jwoolard@mcguirewoods.com          pat@justice4all.org

                                              July 11, 2022
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 2 of 26




                          CORPORATE DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Appellate Procedure 26.1 and Local Rule 26.1,

        Plaintiffs-Appellants Damian Stinnie, Melissa Adams, Adrainne Johnson, Williest

        Bandy, and Brianna Morgan state that, as individuals, they have no parent

        corporations or publicly held corporations that own ten percent or more of stock

        and that they are not aware of any publicly held corporation that has a direct

        financial interest in the outcome of this litigation. Further, this case does not arise

        out of a bankruptcy proceeding.




                                                   i
USCA4 Appeal: 21-1756             Doc: 55                Filed: 07/11/2022               Pg: 3 of 26




                                                   TABLE OF CONTENTS

                                                                                                                                  Page

        CORPORATE DISCLOSURE STATEMENT ......................................................... i
        TABLE OF CONTENTS .......................................................................................... ii
        TABLE OF AUTHORITIES ................................................................................... iii
        RULE 35(B)(1) STATEMENT .................................................................................1
        RELEVANT BACKGROUND .................................................................................3
        ARGUMENT .............................................................................................................7
        I.       This case is exceptional and warrants en banc review because Smyth’s
                 bright-line rule stands alone on the wrong side of an undisputed circuit
                 split...................................................................................................................8
        II.      This case is also exceptional because it presents the opportunity to re-
                 evaluate Smyth’s holding given later-decided Supreme Court precedent,
                 realize the intent of Section 1988, and protect Americans’ ability to
                 guard their constitutional rights against unjust governmental acts. ................9
        III.     The Commissioner can advance no persuasive reason to read Section
                 1988 in a way that undermines the civil rights enforcement scheme
                 created by Congress. ......................................................................................13
        CONCLUSION ........................................................................................................16
        STATEMENT REGARDING ORAL ARGUMENT .............................................18
        CERTIFICATE OF COMPLIANCE .......................................................................19
        CERTIFICATE OF SERVICE ................................................................................20
        ADDENDUM: STATUTE INVOLVED................................................................21




                                                                       ii
USCA4 Appeal: 21-1756           Doc: 55              Filed: 07/11/2022           Pg: 4 of 26




                                            TABLE OF AUTHORITIES

                                                                                                                  Page(s)
        Cases

        City of Riverside v. Rivera,
           477 U.S. 561 (1986) ............................................................................................10
        Common Cause/Georgia v. Billups,
          554 F.3d 1340 (11th Cir. 2009) ............................................................................2

        Dearmore v. City of Garland,
          519 F.3d 517 (5th Cir. 2008) ................................................................................2
        Dupuy v. Samuels,
          423 F.3d 714 (7th Cir. 2005) ................................................................................ 2

        Haley v. Pataki,
          106 F.3d 478 (2d Cir. 1997) ................................................................................. 2

        Hensley v. Eckerhart,
          461 U.S. 424 (1983) ............................................................................................10
        Higher Taste, Inc. v. City of Tacoma,
           717 F.3d 712 (9th Cir. 2013) ................................................................................ 2

        Kansas Judicial Watch v. Stout,
          653 F.3d 1230 (10th Cir. 2011) ............................................................................ 2

        Mathews v. Eldridge,
          424 U.S. 319 (1976) ..............................................................................................5

        People Against Police Violence v. City of Pittsburgh,
          520 F.3d 226 (3d Cir. 2008) .............................................................................2, 8

        Planned Parenthood S.W. Ohio Region v. Dewine,
           931 F.3d 530 (6th Cir. 2019) ................................................................................ 2

        Rogers Group, Inc. v. City of Fayetteville,
          683 F.3d 903 (8th Cir. 2012) ................................................................................ 2

        Select Milk Producers, Inc. v. Johanns,
           400 F.3d 939 (D.C. Cir. 2005) ..........................................................................3, 8
                                                                 iii
USCA4 Appeal: 21-1756            Doc: 55               Filed: 07/11/2022            Pg: 5 of 26




        Smyth ex rel. Smyth v. Rivero,
          282 F.3d 268 (4th Cir. 2002) .......................................................................passim
        Snider Int’l Corp. v. Town of Forest Heights,
           739 F.3d 140 (4th Cir. 2014) ................................................................................ 5

        Stinnie v. Holcomb,
           355 F. Supp. 3d 514 (W.D. Va. 2018) ..........................................................4, 5, 6
        Stinnie v. Holcomb,
           734 F. App’x 858 (4th Cir. 2018) ...................................................................4, 15

        Winter v. Natural Resources Defense Council, Inc.,
          555 U.S. 7 (2008) ..............................................................................................5, 9

        Statutes
        42 U.S.C. § 1988 ...............................................................................................passim
        Va. Code Ann. § 49-1 ..............................................................................................14
        Va. Code Ann. § 46.2-395 (repealed 2020) ...................................................1, 4, 5, 6

        Other Authorities
        Declaration of Independence (U.S. 1776) ..............................................................14
        Fed. R. App. P. 35 ...................................................................................................2,7

        S. Rep. No. 94-1011 (1976), reprinted in 1976 U.S.C.C.A.N. 5908 ................10, 11
        Constitutional Authority
        Va. Const. art. I, § 3 .................................................................................................14




                                                                   iv
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 6 of 26




                                    RULE 35(B)(1) STATEMENT

              The issue here is simple, but exceptionally important: Are Plaintiffs

        prevailing parties when they obtain a merits-based preliminary injunction that

        materially alters the relationship among the parties in a way that directly benefits

        Plaintiffs and remains in place when the case is mooted by legislative action after

        entry of the preliminary injunction? The answer is yes.

              Each Plaintiff in this case had his or her driver’s license suspended based on

        unpaid court debt under Virginia’s former license-for-payment regime. Plaintiffs

        filed suit challenging the constitutionality of Virginia Code § 46.2-395 (repealed

        2020) (“§ 46.2-395” or “Section 46.2-395”) and obtained a merits-based

        preliminary injunction barring the Defendant, Virginia’s Commissioner of the

        Department of Motor Vehicles (the “Commissioner”), from enforcing the statute

        against Plaintiffs and ordering the removal of any current § 46.2-395 suspensions

        on their driver’s licenses. The preliminary injunction benefited Plaintiffs directly

        and remained in effect until subsequent legislative action rendered the suit moot.

        This Court is the only circuit that would categorically bar Plaintiffs from being

        deemed prevailing parties under 42 U.S.C. § 1988.

              The Panel felt constrained to rule for the Commissioner based on its view

        that the case implementing that categorical bar—Smyth ex rel. Smyth v. Rivero, 282

        F.3d 268 (4th Cir. 2002)—remains binding law until overruled by this Court sitting

                                                  1
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 7 of 26




        en banc. (See Docket Entry “DE” 52 at 10–12.) In the absence of Smyth, the

        result “almost certainly” would have been different. Indeed, Judge Harris noted

        that “[o]n the facts of this case, the plaintiffs would almost certainly qualify as

        prevailing parties were it not for [this Court’s] categorical rule to the contrary.”

        (DE52 at 16 (Harris, J., concurring).) She also remarked that the question

        presented by this case “seems worth considering as an en banc court.” (See id. at

        17-18.) She is right.

              Consistent with Federal Rule of Appellate Procedure 35(b), this “proceeding

        presents a question of exceptional importance” for at least two reasons. First, this

        Petition presents an opportunity to address whether this Court wishes to continue

        as the only court to bar prevailing party status under the facts presented. The

        Smyth decision conflicts with every other circuit to have addressed the question.

        See, e.g., Haley v. Pataki, 106 F.3d 478, 483 (2d Cir. 1997); People Against Police

        Violence v. City of Pittsburgh, 520 F.3d 226, 233–34 (3d Cir. 2008); Dearmore v.

        City of Garland, 519 F.3d 517, 526 (5th Cir. 2008); Planned Parenthood S.W.

        Ohio Region v. Dewine, 931 F.3d 530, 542 (6th Cir. 2019); Dupuy v. Samuels, 423

        F.3d 714, 720 (7th Cir. 2005); Rogers Group, Inc. v. City of Fayetteville, 683 F.3d

        903, 904–07, 910–11 (8th Cir. 2012); Higher Taste, Inc. v. City of Tacoma, 717

        F.3d 712, 717–18 (9th Cir. 2013); Kansas Judicial Watch v. Stout, 653 F.3d 1230,

        1238, 1240 (10th Cir. 2011); Common Cause/Georgia v. Billups, 554 F.3d 1340,

                                                   2
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 8 of 26




        1355–56 (11th Cir. 2009); Select Milk Producers, Inc. v. Johanns, 400 F.3d 939,

        942 (D.C. Cir. 2005). Smyth’s outlier status creates the sort of circuit split that

        begs for further review.

              Second, and fundamentally, this case implicates the ability of all individuals,

        regardless of wealth or political views, to access the courts to vindicate their

        federal rights, as well as Congress’s express command that governmental

        wrongdoers be charged with paying for the cost of successful civil rights litigation.

        Political persuasion, belief, race, or creed do not matter here—Plaintiffs’

        arguments benefit everyone. The Commissioner’s position does not.

              If there were ever a case that presented the appropriate vehicle for this Court

        to re-evaluate Smyth because of later-decided Supreme Court precedent and the

        unanimous chorus of circuits going the other way, this is it. (See DE52 at 13–18

        (Harris, J., concurring).) Plaintiffs respectfully request rehearing en banc.

                                    RELEVANT BACKGROUND

              When this litigation began more than five years ago, nearly a million people

        had suspensions on their driver’s licenses because of unpaid court debt from

        Virginia courts. (JA226–28.) Plaintiffs represented a putative class of persons

        whose licenses were suspended automatically when they failed to meet payment

        deadlines for court debt. (Id.) They could not legally drive to work, medical

        appointments, the grocery store, or anywhere else. (Id.) The Commissioner

                                                   3
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022     Pg: 9 of 26




        suspended Plaintiffs’ licenses without notice, a hearing, or consideration of

        inability to pay. (Id.) Plaintiffs lost their licenses because they could not afford

        the court debt imposed on them. (Id.)

              Plaintiffs contended § 46.2-395 breached the promise of procedural due

        process, fundamental fairness, and equal protection made to all Americans

        regardless of race or poverty. (JA262–68.) Chief Judge Gregory remarked: “By

        suspending the licenses of those who cannot pay for reasons outside of their

        control, the state traps thousands of Virginians in a nightmarish spiral for which

        there is no apparent exit.” Stinnie v. Holcomb, 734 F. App’x 858, 864 (4th Cir.

        2018) (Gregory, C.J., dissenting) (emphasis added). Plaintiffs finally found that

        exit about two-and-a-half years into contested litigation when the United States

        District Court for the Western District of Virginia (“District Court”) granted

        Plaintiffs’ requested preliminary injunction, which materially altered the legal

        relationship of the parties by, among other things, requiring the Commissioner to

        remove these suspensions from Plaintiffs’ licenses. Stinnie v. Holcomb, 355 F.

        Supp. 3d 514 (W.D. Va. 2018); (JA843–44). From that point on, § 46.2-395

        ceased to bind Plaintiffs. The preliminary injunction recognized the likely

        unconstitutionality of § 46.2-395, forced the Commissioner to halt enforcement

        against Plaintiffs, and gave the Plaintiffs back their dignity and a chance to provide

        for themselves and break the cycle of poverty.

                                                   4
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 10 of 26




              The District Court granted its preliminary injunction after a robust

        evidentiary hearing that involved an opening statement, exhibits, direct and cross-

        examinations of fact and expert witnesses, and closing arguments. (See, e.g.,

        JA305–772; ECF Case No. 3:16-cv-00044, Document 113.) The District Court

        emphasized it was “turn[ing] to the merits” of the Plaintiffs’ case, 355 F. Supp. 3d

        at 527, and granted relief, finding that it was “likely that Plaintiffs [would] succeed

        in establishing that § 46.2-395 violates procedural due process,” id. at 532. This

        preliminary injunction did not maintain the status quo—it upended it.

              In deciding the preliminary injunction, the District Court turned, as it should,

        to the “govern[ing]” test from Winter v. Natural Resources Defense Council, Inc.,

        555 U.S. 7 (2008). Stinnie, 355 F. Supp. 3d at 532. The opinion went through the

        Mathews factors for procedural due process, considering the parties’ arguments on

        the merits. See id. at 529–31 (citing Mathews v. Eldridge, 424 U.S. 319 (1976)).

        The District Court determined that “Plaintiffs . . . made a clear showing that they

        are likely to establish that they are not provided an opportunity to be heard.” Id. at

        529. And, of course, having an opportunity to be heard is crucial to procedural due

        process. See Snider Int’l Corp. v. Town of Forest Heights, 739 F.3d 140, 146 (4th

        Cir. 2014).

              The District Court also determined that the rest of the Winter factors,

        “irreparable harm, the balance of equities, and the public interest,” all weighed in

                                                   5
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 11 of 26




        Plaintiffs’ favor. Stinnie, 355 F. Supp. 3d at 532. The Commissioner did not

        appeal the preliminary injunction and provided the relief ordered.

              After losing the preliminary injunction, the Commissioner shifted tactics.

        He moved to stay the action and lobbied the General Assembly to repeal the

        statute, at least in part to avoid paying legal fees. (See, e.g., JA845–91; JA924–41;

        JA968–70 (letter from Commissioner to Senator Stanley).) Over Plaintiffs’

        objections, the District Court granted the stay. (JA22-23; JA955-56.) But it made

        no difference to Plaintiffs’ injunctive relief, which was never undone by any court.

              In the months following that material alteration of the legal relationship

        between Plaintiffs and the Commissioner, a bipartisan majority of the Virginia

        General Assembly joined to repeal the statute.1 The preliminary injunction

        continued to remain in effect throughout that months-long legislative process as an

        independent and preexisting source of relief from § 46.2-395. (See Opening Br. at

        14–17 (detailing the history of the legislative process).)

              After repeal, Plaintiffs moved to recover attorneys’ fees and costs as

        prevailing parties under 42 U.S.C. § 1988. But regardless of the meritorious nature

        of Plaintiffs’ argument, the magistrate judge, district judge, and Panel all felt

        constrained to apply Smyth. Plaintiffs request rehearing by the full Court, which



        1
         See Virginia Legis. Info. Sys., Va. SB 1, 2020 Sess., https://lis.virginia.gov/cgi-
        bin/legp604.exe?201+vot+HV1516+SB0001 (last visited July 11, 2022).
                                                 6
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 12 of 26




        every opinion issued in this case has recognized is the body with the power to

        address the merits of this dispute. (See JA1154; JA1264.)

                                            ARGUMENT

              Smyth has passed its expiration date. The rule in the Fourth Circuit should

        be as follows: When a party wins a merits-based preliminary injunction that

        materially alters the legal relationship between the parties and that relief is not

        subsequently undone by the court, that winning party is a prevailing party, even if

        the case is later mooted. (See Opening Br. at 2–9.) The Commissioner would

        reject this rule in favor of Smyth’s categorical bar. Even if Supreme Court

        precedent has not fatally undermined Smyth’s vitality, 2 Smyth is inconsistent with

        that precedent and has led to perverse results and the isolation of the Fourth Circuit

        on the question presented. Plaintiffs’ position, on the other hand, protects the

        people and ensures their rights exist in fact and not only on paper.




        2
         Plaintiffs respectfully submit that this case meets the Rule 35(b)(1)(A) standard
        for en banc review considering Supreme Court precedent decided after Smyth.
        (See, e.g., Opening Br. at 24–31; Reply Br. at 2–9.) Plaintiffs do not concede, and
        expressly preserve, all arguments made in the briefs and oral argument in this
        appeal for further review by this Court, or beyond. (See Opening Br., Reply Br.,
        Oral Argument (May 4, 2022).)
                                                   7
USCA4 Appeal: 21-1756      Doc: 55        Filed: 07/11/2022     Pg: 13 of 26




        I.    This case is exceptional and warrants en banc review because Smyth’s
              bright-line rule stands alone on the wrong side of an undisputed circuit
              split.

              As Judge Harris recognized, “Smyth is a complete outlier.” (DE52 at 14

        (Harris, J., concurring).) And the “Commissioner forthrightly concedes” that

        point. (Id.) “[I]n no circuit other than [this one] is there a bright-line rule that a

        preliminary injunction never can satisfy the prevailing party standard.” (Id. at 15.)

        Circuits across the country recognize that obtaining a preliminary injunction can

        confer prevailing party status. See, e.g., People Against Police Violence, 520 F.3d

        at 232-33 (“[N]early every Court of Appeals to have addressed the issue has held

        that relief obtained via a preliminary injunction can, under appropriate

        circumstances, render a party ‘prevailing.’”); Select Milk, 400 F.3d at 946

        (disagreeing with Smyth’s unsupportable per se rule). The circuit split is striking

        given that Plaintiffs would prevail in any other circuit. (See Opening Br. at 32–42

        (explaining how courts across the country recognize that obtaining a preliminary

        injunction is sufficient to confer prevailing party status, especially when, like here,

        the preliminary injunction is grounded in a merits-based determination); Reply Br.

        at 9–21 (further explaining why Plaintiffs would have prevailed under any other

        circuit’s rule); see also DE52 at 16–17 (Harris, J., concurring).) There is no reason

        why the people of Maryland, North Carolina, South Carolina, Virginia, and West




                                                    8
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022    Pg: 14 of 26




        Virginia should have fewer rights than Americans living anywhere else. The

        circuit split can, and should, be resolved now through en banc review.

        II.   This case is also exceptional because it presents the opportunity to re-
              evaluate Smyth’s holding given later-decided Supreme Court precedent,
              realize the intent of Section 1988, and protect Americans’ ability to
              guard their constitutional rights against unjust governmental acts.

              It is critically important that this Court sitting en banc re-examine Smyth for

        at least three additional reasons. First, Smyth is outdated given subsequent

        Supreme Court precedent. (See, e.g., Opening Br. at 24–31; Reply Br. at 2–9.) As

        Judge Harris noted, the more stringent preliminary injunction standard in Winter

        means that this Court could re-evaluate “Smyth without opening the door to the risk

        that so concerned the court in that case: that a plaintiff could be deemed a

        prevailing party . . . by virtue of a preliminary injunction that had little or nothing

        to do with the merits of her claim.” (See DE52 at 14 (Harris, J., concurring).)

        Given developments in injunctive case law, this Court should consider whether to

        remain a “complete outlier” by adhering to Smyth. (See id.)

              Second, Congress recognized that permitting prevailing plaintiffs to recover

        fees and costs is essential to the enforcement of federally protected rights. But

        Smyth stymies that enforcement framework. As the concurrence recognized,

        taking on the Commonwealth was a Herculean task both in time and money for

        Plaintiffs and their attorneys. (See DE52 at 17 (Harris, J., concurring) (“And the

        plaintiff, who almost certainly will have devoted considerable effort and resources
                                                   9
USCA4 Appeal: 21-1756      Doc: 55        Filed: 07/11/2022     Pg: 15 of 26




        to obtaining a preliminary injunction, is left holding the bag, with no way to

        recover those costs.”).) Section 1988 encourages counsel to devote the energy

        needed to do important civil rights work.

               Plaintiffs with winning civil rights actions deserve to have sophisticated

        legal representation, even if they cannot afford it. In 1976, Congress provided for

        just that:

               In many cases arising under our civil rights laws, the citizen who must
               sue to enforce the law has little or no money with which to hire a
               lawyer. If private citizens are to be able to assert their civil rights, and
               if those who violate the Nations’s fundamental laws are not to proceed
               with impunity, then citizens must have the opportunity to recover
               what it costs them to vindicate these rights in court.

               ...

               Enforcement of the laws depends on governmental action and, in
               some cases, on private action through the courts. If the cost of private
               enforcement actions becomes too great, there will be no private
               enforcement. If our civil rights laws are not to become mere hollow
               pronouncements which the average citizen cannot enforce, we must
               maintain the traditionally effective remedy of fee shifting in these
               cases.

        S. Rep. No. 94-1011, at 2 (1976), reprinted in 1976 U.S.C.C.A.N. 5908, 5910–13.

        The Supreme Court has often recognized the important goals embodied in § 1988.

        See, e.g., City of Riverside v. Rivera, 477 U.S. 561, 576 (1986) (“Congress enacted

        § 1988 specifically because it found that the private market for legal services failed

        to provide many victims of civil rights violations with effective access to the

        judicial process.”); Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (“The purpose
                                                   10
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 16 of 26




        of § 1988 is to ensure ‘effective access to the judicial process’ for persons with

        civil rights grievances.”) (citing H.R. Rep. No. 94-1558, p.1 (1976)).

              Meaningful civil rights enforcement depends on awarding fees and expenses

        in civil right actions. See S. Rep. No. 94-1011, at 2 (1976), reprinted in 1976

        U.S.C.C.A.N. at 5910 (“All of these civil rights laws depend heavily upon private

        enforcement, and fee awards have proved an essential remedy if private citizens

        are to have a meaningful opportunity to vindicate the important Congressional

        policies which these laws contain.”); id. at 5, 1976 U.S.C.C.A.N. at 5913 (“We

        find that the effects of such fee awards are ancillary and incident to securing

        compliance with these laws, and that fee awards are an integral part of the

        remedies necessary to obtain such compliance.”). Further, “[t]he remedy of

        attorneys’ fees has always been recognized as particularly appropriate in the civil

        rights area, and civil rights and attorneys’ fees have always been closely

        interwoven.” Id. at 3, 1976 U.S.C.C.A.N. at 5910.

              Third, Plaintiffs qualify as prevailing parties under the majority rule. (See

        DE52 at 16 (Harris, J., concurring).) Plaintiffs received a merits-based preliminary

        injunction that materially altered the legal relationship between the parties, gave

        relief, and was never undone by any court. See supra at 4–6. Failing to award

        litigation expenses to parties like Plaintiffs hinders Section 1983 litigation and the

        constitutional guarantees promised to all regardless of race, poverty, or belief.

                                                  11
USCA4 Appeal: 21-1756     Doc: 55         Filed: 07/11/2022     Pg: 17 of 26




        Without private enforcement of Section 1983, the government can trample

        anyone’s constitutional rights. And this Court’s failure to overturn Smyth will lead

        to the “predictable result” of fewer attorneys taking on this work than if this circuit

        recalibrated its test to join the rest of the country. (See DE52 at 17 (Harris, J.,

        concurring).)

              When the District Court issued its preliminary injunction, the political

        process had failed Plaintiffs for years. And when Plaintiffs finally sued to enforce

        their constitutional rights, the Commissioner engaged an elite law firm and clashed

        with Plaintiffs extensively. (JA9–26.) Almost two-and-a-half years passed

        between the filing of the initial Complaint and entry of the preliminary injunction.

        (JA9–17.) That entire time, the Commissioner fought to keep an unconstitutional

        statute in place. Allowing the General Assembly’s eleventh-hour repeal of the

        statute after entry of the preliminary injunction to thwart Plaintiffs’ ability to

        recover their fees would enable states to employ litigation tactics to delay and deter

        meritorious cases.

              The current rule in Smyth creates all the wrong incentives for government

        actors. As Judge Harris observed, the Smyth rule “allows defendants to game the

        system.” (DE52 at 17 (Harris, J., concurring).) So long as the Smyth rule remains,

        civil rights plaintiffs in the Fourth Circuit remain at a disadvantage as compared to

        those in every other circuit. They face the risk that the government will moot the

                                                   12
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 18 of 26




        case after losing a preliminary injunction and before plaintiffs can win final

        judgment. (See id.) The government has vast taxpayer-provided funds through

        which to hire lawyers to defend its laws—however unconstitutional those laws

        may be. Ordinary Americans do not have the same resources, and their inability to

        access legal help is hindered when the government can avoid a fee award by

        mooting the case after losing a preliminary injunction.

               Here, the perverse incentives created by Smyth were on full display. As

        Judge Harris noted, Plaintiffs were eager to win their case at trial. (DE52 at 16–17

        (Harris, J., concurring); JA15-23; JA955.) Plaintiffs would have had their final

        day in court before the statute could have been repealed had it not been for the stay

        requested by the Commissioner. Smyth created the conditions in which this

        litigation gamesmanship occurred.

        III.   The Commissioner can advance no persuasive reason to read Section
               1988 in a way that undermines the civil rights enforcement scheme
               created by Congress.

               None of the Commissioner’s prior arguments over the course of this dispute

        comes close to counteracting the import of Section 1988’s purpose and related

        Supreme Court precedent. First, the Commissioner has previously contended that

        the bright-line rule provides “clarity” to “courts and litigants.” (See JA1093.) This

        argument fails in at least two ways. To start, this Court should reject the idea that

        the approach taken in all of the other circuits to address the issue is simply too


                                                  13
USCA4 Appeal: 21-1756        Doc: 55      Filed: 07/11/2022    Pg: 19 of 26




        complicated to be workable. Courts and litigants in the Fourth Circuit are just as

        capable as those in other circuits, and there is no indication that the law in other

        circuits is in disarray without Smyth’s bright-line rule. And even if the bright-line

        rule is clear, it is not just.

               Second, the Commissioner has argued that a bright-line rule helps the

        government decide “how to respond” when challenged by constitutional litigation.

        (See JA1094.) But one would hope the relevant, and overriding, consideration for

        the government would be doing the right thing. See Va. Const. art. I, § 3 (“That

        government is, or ought to be, instituted for the common benefit, protection, and

        security of the people, nation, or community[.]”); Va. Code Ann. § 49-1 (requiring

        all officers in the Commonwealth to swear they will “support the Constitution of

        the United States, and the Constitution of the Commonwealth of Virginia”). After

        all, government officials work for the people. See Declaration of Independence

        para. 2 (U.S. 1776) (“That to secure these rights, Governments are instituted

        among Men, deriving their just powers from the consent of the governed”). But

        here, the Commissioner defended an unconstitutional statute by applying scorched-

        earth litigation tactics until his untenable position became obvious for all to see.

               The Commissioner has also referenced “the costs and benefits of amending a

        law or changing a policy” in supporting Smyth, as if the true value of the

        Commonwealth’s laws can be reduced to a spreadsheet. (See JA1094.) For years,

                                                  14
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 20 of 26




        the government ignored Plaintiffs’ household budgets in its license-for-payment

        scheme. The unconstitutional regime deprived hundreds of thousands of

        Virginians of their dignity and the chance to raise themselves up from the vicious

        cycle of poverty. (See generally JA27–81 (Complaint); JA226–70 (First Amended

        Complaint).) Virginia’s law imposed a “nightmarish spiral” that trapped Plaintiffs.

        Stinnie, 734 F. App’x at 864 (Gregory, C.J., dissenting). At bottom, it is not a

        legitimate consideration for the government to want additional clarity concerning

        how to respond to its unconstitutional laws because it might have to pay the

        litigation expenses of those who dare to stand up and challenge those laws. When

        the DMV decides to defend an unconstitutional law with the best lawyers it can

        muster and fights at every turn, it has to live with that decision when it loses on a

        merits-based preliminary injunction, and then turns to the legislature in an apparent

        attempt to avoid “continuing to incur costly legal fees.” (See JA1038–39 (quoting

        the Commissioner).)

              This Court should deny the Commissioner’s invitation to reaffirm Smyth’s

        bright-line rule because the abuse it invites has been on full display in this case. In

        this situation, the Court should have no qualms about realigning its law on

        prevailing party status considering the changed standards governing preliminary

        injunctions. If anything, overturning Smyth and returning to the original intent of

        Section 1988 is an exercise of judicial restraint because it would create harmony

                                                  15
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 21 of 26




        among every circuit that has considered the issue and reinforce the intent of

        Congress in enacting Section 1988.

                                          CONCLUSION

              For twenty years now, under Smyth, this circuit has categorically prohibited

        prevailing-party status under the facts presented and has come to be the only circuit

        across the country to do so. Today, the issue is whether Plaintiffs can recover their

        attorneys’ fees after successfully defeating the Commissioner’s unconstitutional

        license-for-payment scheme. Tomorrow, the set of plaintiffs may include those

        seeking to vindicate their religious freedoms under the First Amendment, their

        right to bear arms under the Second Amendment, or their right to equal protection

        under the Fourteenth Amendment. It does not matter whether a plaintiff seeks to

        pursue causes one might label as “liberal” or “conservative.” This case affects

        everyone. And unless this Court steps in to end the rigid ruling set out in Smyth,

        Americans of all beliefs in the Fourth Circuit will find the courthouse doors

        accessible in theory only. Congress enacted Section 1988 to prevent that outcome.

        This Court has the chance to make that Congressional intent a reality.

              Plaintiffs ask this Court to adjudicate Smyth’s continued viability and

        recognize it should be overturned—especially under the facts of this case. The

        law, the facts, and the question presented all invite this Court’s en banc review.




                                                 16
USCA4 Appeal: 21-1756    Doc: 55        Filed: 07/11/2022   Pg: 22 of 26




        Dated: July 11, 2022

        Respectfully submitted,


        /s/ John J. Woolard
         John J. Woolard                          Jonathan T. Blank
         MCGUIREWOODS LLP                         Benjamin P. Abel
         800 East Canal Street                    MCGUIREWOODS LLP
         Richmond, VA 23219                       323 Second Street SE, Suite 700
         T: (804) 775-4355                        Charlottesville, VA 22902
         F: (804) 698-2055                        T: (434) 977-2509
         jwoolard@mcguirewoods.com                F: (434) 980-2258
                                                  jblank@mcguirewoods.com
                                                  babel@mcguirewoods.com

         Angela A. Ciolfi                         Patrick Levy-Lavelle
         LEGAL AID JUSTICE CENTER                 LEGAL AID JUSTICE CENTER
         1000 Preston Avenue, Suite A             626 East Broad Street, Suite 200
         Charlottesville, VA 22903                Richmond, VA 23219
         T: (434) 529-1810                        T: (804) 643-1086
         F: (434) 977-0558                        F: (804) 643-2059
         angela@justice4all.org                   pat@justice4all.org

         Leslie Kendrick                          Tennille J. Checkovich
         580 Massie Road                          Michael Stark
         Charlottesville, VA 22903                200 Commerce Street
         T: (434) 243-8633                        Smithfield, VA 23430
         F: (434) 924-7536                        T: (757) 357-8151
         kendrick@virginia.edu                    F: (757) 365-3018
                                                  tcheckovich@smithfield.com
                                                  mstark@smithfield.com


        Counsel for Appellants




                                                17
USCA4 Appeal: 21-1756     Doc: 55        Filed: 07/11/2022    Pg: 23 of 26




                      STATEMENT REGARDING ORAL ARGUMENT

              For all the reasons stated in this Petition, the issue presented for en banc

        review warrants oral argument as an issue of exceptional importance. This Court’s

        bright-line rule in Smyth holding that a preliminary injunction can never be

        sufficient relief to confer prevailing party status is inconsistent with subsequent

        Supreme Court precedent and is an outlier with which almost all other circuits

        disagree. Should this Court continue to apply Smyth, it will reinforce the existing

        circuit split on the question of whether a preliminary injunction can ever confer

        prevailing party status, making the issue appropriate for consideration by the

        United States Supreme Court. In light of the complexity of the legal issues

        involved and division among the circuits concerning the continued viability of

        Smyth, Plaintiffs respectfully suggest that oral argument is needed and will assist

        the en banc court in its decisional process.




                                                  18
USCA4 Appeal: 21-1756    Doc: 55          Filed: 07/11/2022   Pg: 24 of 26




                             CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Fed. R. App. P. 35

        because:

           • This brief contains 3,817 words, excluding the parts of the brief exempted

              by Fed. R. App. P. 32(f).

           This brief complies with the typeface and type style requirements of Fed. R.

        App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because:

           • This brief has been prepared in a proportionally spaced 14-point Times New

              Roman font using Microsoft Word.



                                                /s/ John J. Woolard




                                                  19
USCA4 Appeal: 21-1756    Doc: 55         Filed: 07/11/2022    Pg: 25 of 26




                                   CERTIFICATE OF SERVICE

              I hereby certify that on July 11, 2022, I electronically filed the foregoing

        Petition for Rehearing En Banc of Appellants with the Clerk of this Court using the

        CM/ECF System, which will send a notification of electronic filing to all counsel

        of record who are registered CM/ECF users, including counsel for Appellee.



                                                      /s/ John J. Woolard




                                                 20
USCA4 Appeal: 21-1756       Doc: 55       Filed: 07/11/2022     Pg: 26 of 26




                              ADDENDUM: STATUTE INVOLVED

               Pursuant to Federal Rule of Appellate Procedure 28(f), Plaintiffs submit this

        Addendum containing the “relevant parts” of the statute necessary to the resolution

        of the issue presented by this appeal:

        42 U.S.C. § 1988(b):

        (b) ATTORNEY’S FEES

        In any action or proceeding to enforce a provision of sections 1981, 1981a, 1982,

        1983, 1985, and 1986 of this title . . . the court, in its discretion, may allow the

        prevailing party, other than the United States, a reasonable attorney’s fee as part of

        the costs . . . .




                                                   21
